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                                   UNITED STATES BANKRUPTCY COURT
 7                                 WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 8
         In re:
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                                                                            Case No. 14-10421-MLB
10       CASEY R. INGELS,
                                        Debtor.
11
         JOHN S. PETERSON, AS BANKRUPTCY                                    Adversary No. 14-01387-MLB
12
         TRUSTEE,
13
                                        Plaintiff,                  [AMENDED] NOTICE OF TRIAL
14                                                                 AND ORDER SETTING DEADLINES
                  v.
15
         CASEY R. INGELS,
16
                                        Defendant.
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18
             1.    Trial Setting. The above-captioned case is set for a ONE day1 non-jury trial
19   commencing at 10:30 a.m. on JUNE 8, 2015, in the United States Bankruptcy Court, 700 Stewart
     Street, Courtroom 7106, Seattle, Washington.
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            2.      Compliance. Counsel and parties are advised that failure to comply with the procedures
21   and deadlines set forth in this order, including the duty to provide the Court with updated documents as
     necessary, may result in adverse evidentiary rulings, and/or dismissal of the action. Trials may be
22   stricken and the case dismissed with prejudice or relief entered without further notice, and/or
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     1
      If counsel anticipates that the trial will take longer than the length of time set forth in this order, counsel must,
24   within ten (10) days of the date of this order, notify the Court and opposing counsel, by letter electronically filed
     with the Court, of the anticipated length of trial. The Court will then schedule a pretrial conference to facilitate
25   any changes to the length of the trial and schedule, and to discuss any other preliminary matters.




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     evidence excluded, for failure to comply with this order. Counsel (and pro se parties) shall advise
 1   chambers in writing of any change of address and/or telephone number.
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 3          3.     Pretrial Deadlines.

 4                 a. Consent to Trial Conducted by Bankruptcy Judge.

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                      1. Final Adjudication and Consent to Entry of Final Order or Judgment. Each
 6                    party shall file a separate document by December 15, 2014, to be entitled “Notice
                      Regarding Final Adjudication and Consent.” The Notice Regarding Final
 7                    Adjudication and Consent shall include:
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                                  a.     A repetition of the statements required by Federal Rules of
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                          Bankruptcy Procedure 7008(a) and 7012(b), including, but not limited to,
                          whether, if the matter is non-core, the party does or does not consent to entry of
10                        final orders or judgment by the bankruptcy judge;

11                               b.     A statement specifying (a) whether the matter is one that,
                          although core, may not be adjudicated without consent to final judgment by a
12                        bankruptcy court, and (b) whether such consent is given.

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                      2. Order Regarding Final Adjudication. If the documents filed pursuant to
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                      subsection (1) above indicates that there is consent or mutual assertion that the
                      bankruptcy court may enter a final adjudication, the bankruptcy court may, at any
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                      time prior to trial, enter an “Order Regarding Final Adjudication.” If there is not
16                    consent or mutual assertion that the bankruptcy court may enter a final adjudication,
                      the bankruptcy court may designate a party to file a motion in accordance Local
17                    Bankruptcy Rule 5011-1 for withdrawal of reference.

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                   b. Initial Disclosures. If not already made, all parties shall make the initial disclosures
19                    required by Federal Rule of Civil Procedure 26(a)(1) and Federal Rule of
                      Bankruptcy Procedure 7026 by no later than December 15, 2014
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                   c. Disclosure of Expert Witnesses. On or before January 30, 2015, the plaintiff
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                      shall disclose to the defendant, in writing the name of each expert witness he intends
22                    to call at trial, including a brief statement of the opinions to be expressed by each
                      expert and the basis and reasons therefore, the data or other information considered
23                    by the expert in forming the opinions, any exhibits to be used as a summary of or
                      support for the opinions, and the qualifications of the expert and the compensation to
24                    be paid for the study and testimony. On or before February 19, 2015, the defendant
                      shall disclose to the plaintiff, in writing the name of each expert witness he intends to
25                    call at trial, including a brief statement of the opinions to be expressed by each




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                 expert and the basis and reasons therefor, the data or other information considered by
 1               the expert in forming the opinions, any exhibits to be used as a summary of or
                 support for the opinions, and the qualifications of the expert and the compensation to
 2
                 be paid for the study and testimony.
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              d. Business Records.       Any party intending to offer a record into evidence by
 4               declaration pursuant to Federal Rules of Evidence 902(11), 902(12), and 803(6) must
                 provide written notice of that intention to all adverse parties, and must make the
 5               record and declaration available for inspection on or before March 23, 2015.

 6            e. Discovery Cutoff. All discovery shall be completed on or before March 31, 2015.
 7
              f. Exhibits. An identification of each document or other exhibit, including summaries
 8               of other evidence – separately identifying those items the party expects to offer and
                 those it may offer if the need arises – shall be provided to all adverse parties by May
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                 25, 2015.
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                     1.      Identification. A number sequence shall be used for all exhibits of all
11                           parties, with prefixes indicating the offering party (i.e., P1, P2, P3, etc;
                             D1, D2, D3, etc.).
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                     2.      Format. Exhibits shall be pre-marked in accordance with this order. Any
13                           documentary exhibits that can reasonably be submitted on 8-1/2 by 11
                             inch paper shall be, with text on one side only.
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15                   3.      Submission of Exhibits to Court. Parties intending to offer exhibits shall
                             submit two (2) sets of exhibits in 3-ring binders, as follows: one (1)
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                             original and one (1) copy brought to the Court, 700 Stewart Street, Room
                             6301, Seattle, Washington. The binders shall include an index of the
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                             exhibits, and identifying tabs using the number sequence as set forth in
18                           subsection (1) above.      Submissions shall be made by the close of
                             business on June 3, 2015.
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              g. Non-Expert Witnesses. The name and, if not previously provided, the address and
20               telephone number of each witness – separately identifying those the party expects to
                 present and those it may call if the need arises – shall be provided to all adverse
21               parties by April 6, 2015.
22            h. Interpreters. A statement identifying the name, address, telephone number and
                 summary of qualifications of any interpreter a party expects to use at trial shall be
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                 filed no later than April 13, 2015. The statement shall also identify the witness for
24               whom the interpreter is needed and the non-English language to be interpreted.

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                   i. Trial Briefs. Plaintiff’s trial brief shall be filed no later than June 1, 2015.
 1                    Defendant’s trial brief shall be filed no later than June 1, 2015. Trial briefs shall
                      include, as an attachment, proposed findings of fact and conclusions of law. All
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                      must contain the top notation. See Local Rules W.D. Wash. Bankr. 9013-1(d).
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 4                 j. Motions in Limine. Motions in limine shall be filed no later than June 1, 2015.

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                   k. Pretrial Order. Counsel shall comply with Local Bankruptcy Rule 7016(b) in the
 6                    filing of a proposed pretrial order. The pretrial order is due by June 1, 2015. If you
                      fail to file the pretrial order by this date, the trial may be stricken.
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 8                 l. Dispositive Motions. Dispositive motions shall be served and the hearing held no
                      later than March 23, 2015.
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            4.     Settlement. The parties shall promptly notify the Court if the matter is settled.
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            5.     Confirmation. The plaintiff shall confirm that the trial is going forward not later than
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     12:00 p.m. June 1, 2015, and so advise all parties. Failure to comply may result in the trial being
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     stricken and the case dismissed with prejudice. Please confirm the trial using the E-Docket
     Confirmation Process. For information concerning the E-Docket Confirmation Process, please visit the
13   Court’s website at http://www.wawb.uscourts.gov. Pro se parties may confirm a trial by contacting
     Chambers, at (206) 370-5310.
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            6.      Continuances. Typically continuances are granted only by agreement. A party seeking
15   a continuance must contact Judge Barreca’s Courtroom Deputy, Kim Kelley, at (206) 370-5311, for
     available future trial dates. It is the parties’ responsibility to confer and agree on a future trial
16   date. Until the parties notify Chambers that they have agreed on a future trial date provided by
     Ms. Kelley, the trial will NOT be continued, and the parties will be expected to appear for trial as
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     scheduled.
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             7.    Pretrial Conference. If you believe a pretrial conference would be beneficial, one will
19   be set upon written request by either party.

20                                           ///END OF ORDER///

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